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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                             CR 13–65–GF–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 CHARLOTTE B. NEW BREAST,


                      Defendant.



      United States Magistrate Judge Keith Strong entered Findings and

Recommendation in this matter on October 21, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Strong recommended this Court accept Charlotte B. New Breast’s

guilty plea after New Breast appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of Theft from an

Indian Tribal Government Receiving Federal Funding (Count XXVII), as set forth

in the Indictment. In exchange for Defendant’s plea, the United States has agreed

to dismiss Counts I-XXII of the Indictment.

      I find no clear error in Judge Strong’s Findings and Recommendation (Doc.

78), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Charlotte B. New Breast’s motion to

change plea (Doc. 69) is GRANTED.

      DATED this 8th day of November, 2013.




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